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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



Snik LLC,

                    Plaintiff,                      Civil Action No. 2:19-cv-00387-JRG
       v.

Samsung Electronics Co., Ltd.; and
Samsung Electronics America, Inc.,                  JURY TRIAL DEMAND

                    Defendants.



            FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Snik LLC, (“Plaintiff” or “Snik”) files this First Amended Complaint for Patent

Infringement arising under the Patent Laws of the United States of America, 35 U.S.C. § 100, et

seq., seeks damages, and injunctive relief, and alleges:

                                        THE PARTIES

       1.      Snik is a limited liability company established and existing under the laws of the

State of California with its principal business location at 1109 Parker Street, #4, Berkeley,

California 94702.

       2.      On information and belief, Samsung Electronics Co., Ltd. (“Samsung

Electronics”) is formed and existing under the laws of the Republic of Korea with its principal

place of business 129, Samsung-ro, Yeontong-gu, Suwon, Gyeonggi-do, Korea 443-742. On

information and belief, Defendant Samsung Electronics America, Inc. (“Samsung America”) is a

New York corporation with its principal place of business at 85 Challenger Road, Ridgefield Park,

New Jersey 07660. On information and belief, Samsung America has a business location in this

District at 6625 Excellence Way, Plano, TX 75023. On information and belief, Samsung America

is a wholly owned subsidiary of Samsung Electronics. On information and belief, Samsung

Electronics manufactures the products alleged to infringe in this First Amended Complaint and

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controls the decisions of Samsung America to infringe or license the patents as agent of the

principal parent corporation, Samsung Electronics. This First Amended Complaint will refer to

these Defendants collectively as “Samsung.” On information and belief, Samsung’s products

accused of infringement in this First Amended Complaint are and have been offered for sale and

sold in this and other judicial districts from at least August 10, 2016, at the latest, and continuing

to this date. On information and belief, Samsung America is registered to do business as a foreign

corporation in Texas and is doing business in this judicial district, in Texas, and elsewhere

throughout the United States. On information and belief, Samsung America can be served with

process through its agent CT Corporation System, 1999 Bryan St., Suite 900, Dallas, TX 75201.

                                 JURISDICTION AND VENUE

       3.      This action arises under the Patent Laws of the United States, Title 35 of the United

States Code, 35 U.S.C. § 100, et seq. This Court has subject-matter jurisdiction under 28 U.S.C.

§§ 1331, 1332, and 1338(a).

       4.      The Court has personal jurisdiction over Samsung in that, on information and

belief, Samsung has committed and continues to commit acts of patent infringement in this

District and/or has contributed to or induced acts of patent infringement by others in this District;

regularly does business or solicits business in this district; employs citizens of Texas in this

District; enters into contracts with citizens and/or residents of this District; derives substantial

revenue from its activities in this District; has purposefully established substantial, systematic,

and continuous contacts with this District such that it should reasonably expect to be haled into

court in this District; and has placed products accused of infringement into the stream of

commerce knowing that some portion of such products would be used, sold, and/or offered for

sale in this District. Indeed, on information and belief, Samsung maintains an office in this

District at 6625 Excellence Way, Plano, TX 75023.




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       5.      Venue is proper in this District under 28 U.S.C. § 1400(b) and 28 U.S.C.

§ 1391(c)(3). On information and belief, Samsung has committed acts of infringement in the

District and/or has contributed to or induced acts of patent infringement by others in this District

and has a regular and established place of business within the District. For example, Plaintiff is

informed and believes that Samsung has offices at 6625 Excellence Way, Plano, TX 75023.

                                      NATURE OF THE ACTION

       6.      The Patents. Snik is the assignee of and owns all right, title, and interest in and to

U.S. Patent Nos. 9,167,329B2 (the “’329 Patent”) and 9,769,556B2 (the “’556 Patent”) (together

the “Patents-in-Suit”). The ’329 Patent is presumed valid, and is subsisting. A true and correct

copy of the ’329 Patent is attached as Exhibit A and incorporated by reference. The ’556 Patent

is presumed valid, and is subsisting. A true and correct copy of the ’556 Patent is attached as

Exhibit B and incorporated by reference.

       7.      The Patents-in-Suit disclose and claim systems and methods for controlling audio

with magnetically-attractable earphones.

       8.      The Accused Products. Without limitation, Samsung makes, uses, sells, offers to

sell, and/or imports into the United States products that practice one or more claims of the Patents-

in-Suit, including without limitation the Level U Pro (“LUP”), Level U Pro Active Noise

Cancelling (“LUP ANC”), Galaxy Buds (“Galaxy Buds”), and/or Galaxy Buds Plus (“Galaxy

Buds+”) wireless headphones (“Accused Products”). Snik reserves the right to amend this First

Amended Complaint and any infringement contentions to include additional products that

practice one or more claims of the Patents-in-Suit. On information and belief, Samsung offered

the Galaxy Buds+ for sale in the United States in or about March of 2020.

       9.      On information and belief, Galaxy Buds and Galaxy Buds+ infringe one or more

claims of the ’329 Patent, either literally or through equivalents and either directly or indirectly.

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       10.     For example, and not by way of limitation, Claim 1 of the ’329 Patent recites:




       Snik reserves the right to amend this First Amended Complaint and any infringement

contentions to include additional claims of the Patents-in-Suit that read on Accused Products.

       11.     On information and belief, Galaxy Buds and Galaxy Buds+ comprise:

               a.     A holder body comprising one or more magnets.

Galaxy Buds




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Galaxy Buds+




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              b.     A set of earphones comprising magnetically attractable surface for

removably coupling with the one or magnets. See figures above and below:




              Your device contains magnets, which may affect medical devices, such as
              pacemakers or implantable cardioverter defibrillators. If you are using any of these
              medical devices, keep your device a safe distance from them and consult with your
              physician before you use the device.
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              c.     An electronic device controller coupled to receive an activation signal

when one or more of the set of earphones are decoupled from one of the one or more magnets.

Galaxy Buds

       On information and belief, Galaxy Buds earphones each include a Broadcom BCM43014

integrated low-power system-on-chip (“BCM SoC”). Galaxy Buds also comprise an ABOV

F6432AUB Micro Controller Unit.

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       On information and belief, the BCM SoC and/or the ABOV F6432AUB comprise a

controller that controls connectivity of both earbuds with electronic devices using Broadcom’s

advanced Bluetooth pairing technology and enables integration of multi-dimensional sensors,

including magnetic Hall sensors. On information and belief, the BCM SoC further comprises

Bluetooth 5 functionality, audio digital signal processing functionality, and a sensor hub

processor. On information and belief, the sensor hub functionality is responsive to a Hall sensor.




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       On information and belief, Galaxy Buds are compatible with Samsung Galaxy products,

all of which include a controller configured to receive Bluetooth signals, including without

limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy S9+;

Galaxy Note 5; Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus, and

Galaxy S10e.     On information and belief, Galaxy Buds are also compatible with other

smartphones, including without limitation Apple iPhones, which also include a controller for

receiving Bluetooth signals.




When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds earphones

activate and begin playing audio when removed from the holder

Galaxy Buds+

       On information and belief, Galaxy Buds+ earphones each include a Broadcom

BCM43015 integrated low-power system-on-chip (“BCM SoC”).            Galaxy Buds+ further

comprise Samsung S2MUA01X chips.

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       On information and belief, the BCM SoC and/or the Samsung S2MUA01X chips

comprise a controller that controls connectivity of both earbuds with electronic devices using

Broadcom’s advanced Bluetooth pairing technology and enables integration of multi-dimensional

sensors, including magnetic Hall sensors. On information and belief, the BCM SoC further

comprises at least Bluetooth 5 functionality, audio digital signal processing functionality, and a

sensor hub processor. On information and belief, the sensor hub functionality is responsive to a

Hall sensor.




       On information and belief, Galaxy Buds+ are compatible with smartphones and tablets

running Android 5.0 or higher, including without limitation Samsung Galaxy products, all of

which include a controller configured to receive Bluetooth signals, including without limitation:

Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy S9+; Galaxy Note

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5; Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus, Galaxy S10e, S20,

S20+ and S20 Ultra 5G.

          In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10 or

higher:
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               Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB

          of RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher.

When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones

activate and begin playing audio when removed from the holder.

                     d.      The electronic device controller receives a deactivation signal when one or

more of the set of earphones are coupled to one of the one or more magnets. With respect to both

the Galaxy Buds and the Galaxy Buds+ products, when either product is paired to a Bluetooth

device that is playing audio, one or both earphones are deactivated and cannot play audio when

in the holder.

          12.        On information and belief, the Accused Products infringe one or more claims of

the ’556 Patent, either literally or through equivalents and either directly or indirectly.

          13.        For example, and not by way of limitation, Claim 39 of the ’556 Patent recites:




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Snik reserves the right to amend this First Amended Complaint and any infringement contentions

to include additional claims of the Patents-in-Suit that read on Accused Products.

       14.     On information and belief, the LUP and LUP ANC products comprise:

               a.       A first earphone.

          Level U Pro                                               Level U Pro ANC




               b.       A second earphone removably coupled to the first earphone. See images

above and below.

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              Level U Pro                                        Level U Pro ANC




              c.     An electronic device controller configured to receive an activation signal

when a magnetic decoupling of the first and second earphones is detected. On information and

belief, the LUP and LUP ANC products use CSR8675 Bluetooth audio system on chip (“CSR

SoC”). The CSR SoC contains a micro-controller unit, which is an 80MHz programmable

reduced instruction set computer. On information and belief, the CSR SoC also contains a

Kalimba digital signals processor. On information and belief, the CSR SoC also includes an

SPDIF and two PCM/I2S output ports and one SPI/ I2C integrated circuit communication protocol

port. The figure below shows the architecture of the CSR SoC. On information and belief, the

CSR SoC receives an activation signal when the earphones are magnetically decoupled.




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On information and belief, the LUP products are compatible with Samsung Galaxy products, all

of which also include a controller configured to receive Bluetooth signals, including without

limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+. On information and belief,

the LUP ANC products are compatible Samsung Galaxy products, all of which include a

controller configured to receive Bluetooth signals, including without limitation: Galaxy S7 Edge;

Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5; Galaxy Note 8;

Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e. On information and

belief, the LUP and LUP ANC products are also compatible with other smartphones, including

without limitation Apple iPhones, which also include a controller for receiving Bluetooth signals.

See highlighted text on figures below.



         Level U Pro                                                Level U Pro ANC




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                                 Level U Pro

                               Level U Pro ANC




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                d.     An activation signal causes audio to be played in the first and second

earphones.     On information and belief, when the earphones of the Accused Products are

disconnected from each other, the CSR SoC receives an activation signal. On information and

belief, the activation signal causes audio to play in the first and second earphones. See images

above.

                e.     An electronic device controller receives a deactivation signal.           On

information and belief, when the magnetic earphones are coupled to each other, the CSR SoC

receives a deactivation signal. On information and belief, the deactivation signal causes audio to

stop playing in the first and second earphones. See images above.

         15.    For example, and not by way of limitation, Claim 9 of the ’556 Patent recites:




Snik reserves the right to amend this First Amended Complaint and any infringement contentions

to include additional claims of the Patents-in-Suit that read on Accused Products.

         16.    On information and belief, the Galaxy Buds products comprise:

                a.     A set of headphones for playing transmitted audio and external audio.

Galaxy Buds

         On information and belief, the earphones of the Galaxy Buds products are for playing both

audio transmitted from a Bluetooth device and/or external audio. The Galaxy Buds products


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comprise a “set of headphones” and the headphones comprise one or more magnetic second

surfaces. See paragraph 11 above.




The earphones play audio from paired Bluetooth devices. The earphones also play external audio

using their Ambient Aware system.




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Galaxy Buds+

        On information and belief, the earphones of the Galaxy Buds+ products are for playing

both audio transmitted from a Bluetooth device and/or external audio. The Galaxy Buds+ products

comprise a “set of headphones” and the headphones comprise one or more magnetic second

surfaces. See paragraph 11 above.




The earphones play audio from paired Bluetooth devices. The earphones also play external audio

using their Ambient Aware system.

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              b.     A microphone for receiving the external audio. The Galaxy Buds and

Galaxy Buds+ earphones comprise multiple microphones. See paragraph 16(a) above.

Galaxy Buds

               “Samsung insists that the Galaxy Buds are for talking just as much
               as they are for listening. Thanks to so-called ‘dual adaptive
               microphones,’ one on the inside and one on the outside of each
               earbud, the company says the person on the other end of your calls
               will hear you more clearly. That's because the earbuds can pickup
               on your surroundings and automatically switch between the two
               sets of mics to reduce background noise for whoever you're talking
               to.”
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Galaxy Buds+

       The internal structure of the new Buds+ is similar to last year’s model, but the
       2020 entry does make better use of all of its internal space. This time, the
       0.315Wh battery is supplied by EVE instead of Varta, and it, together with the
       main printed circuit board (PCB), reside in one half of the earbud. The other half
       of each earbud contains the charging contacts, an interfacing microphone, a
       proximity sensor, as well as the upgraded drivers which are reportedly more
       difficult to remove (and haven’t been in the video).




             c.       A headphones controller coupled to receive an activation signal when a

magnetic decoupling is detected as one or more of the magnetic second surfaces is removed and

decoupled from one or more of the one or more of the magnetically attractable first surfaces. See

paragraph 11 above for both Galaxy Buds and Galaxy Buds+

             d.       Wherein the activation signal causes transmitted audio to be played. See

paragraph 11 above for both Galaxy Buds and Galaxy Buds+.

       17.     In or about March and April of 2018, both in writing and in at least one face-to-

face meeting with Samsung representatives, Samsung was made aware of the Patents-in-Suit.

Samsung was also advised that it needed a license to the Patents-in-Suit to continue to make, use,

offer for sale, sell, and/or import certain Accused Products in the United States. Samsung was

provided the Patent-in-Suit and a claim chart to demonstrate how the Patents-in-Suit read on the

certain Accused Products. Samsung refused to enter into a license.



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       18.     On information and belief, Samsung actively induces infringement of the Patents-

in-Suit by encouraging consumers of Bluetooth enabled devices to use the Accused Products to

control audio with the magnetic features of the Accused Products. On information and belief,

Samsung does so at least in the User Manuals for the Accused Products; in the Quick Start Guides

included in the packaging with the Accused Products; on its web site; and on the packaging of the

Accused Products. On information and belief, Samsung knew or should have known that its

customers’ use of Accused Products would infringe the Patents-in-Suit because, in or about March

and April 2018, Samsung was made aware of the Patents-in-Suit and that making, using, selling,

offering for sale, and/or importing Accused Products would be infringing.

       19.     On information and belief, Samsung contributes to infringement of the Patents-in-

Suit because it sells Accused Products to consumers and the Accused Products are material to

practicing claims of the Patents-in-Suit, including without limitation Claim 36 of the ’329 Patent

and Claim 38 of the ’556 Patent. On information and belief, the Accused Products are especially

made and/or especially adapted for use in an infringing manner inasmuch as Samsung makes,

imports, sells, and/or offers to sell the Accused Products specifically for use with Bluetooth-

enabled devices and for controlling audio with the magnetic features in the Accused Products.

                                FIRST CLAIM FOR RELIEF
                        (Infringement of U.S. Patent No. 9,167,329B2)

       20.     Plaintiff incorporates paragraphs 1-19 of this First Amended Complaint by

reference.

       21.     Samsung has infringed and continues to infringe one or more claims of the ’329

Patent, either literally or through equivalents and either directly or through acts of contributory

infringement or inducement of infringement, in violation of 35 U.S.C. § 271 by manufacturing,

having made, using, selling, offering to sell, and/or importing the Accused Products, as described

in more detail above. A claim chart showing exemplary infringement of the ’329 Patent is


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attached as Exhibit C. Snik reserves the right to amend this First Amended Complaint and any

infringement contentions to include additional products that practice one or more claims of the

Patents-in-Suit as well as to include additional claims of the Patents-in-Suit. In addition, Snik

reserves the right to assert other theories of infringement based on discovery in the case as well

as based on expert testimony.

       22.     Snik is entitled to recover from Samsung the damages sustained by Snik as a result

of Samsung’s wrongful acts in an amount subject to proof at trial. Snik is entitled to recover from

Samsung damages adequate to compensate Snik for Samsung’s infringement of the ’329 Patent,

but in no event less than a reasonable royalty for the use Samsung made of claim(s) in the ’329

Patent, together with interest and costs as fixed by the Court.

       23.     Upon information and belief, Samsung has had notice of the ’329 Patent from in

or about March and April 2018, and in no event later than the time of filing of this lawsuit.

Accordingly, Samsung’s infringement has been willful and deliberate, entitling Snik to increased

damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35 U.S.C. § 285.

       24.     Samsung’s infringement of the ’329 Patent is causing, and will continue to cause,

irreparable harm to Snik for which there is no adequate remedy at law and such harm will continue

unless and until Samsung is enjoined by this Court.

                                SECOND CLAIM FOR RELIEF
                        (Infringement of U.S. Patent No. 9,769,556B2)

       25.     Plaintiff incorporates paragraphs 1-24 of this First Amended Complaint by

reference.

       26.     Samsung has infringed and continues to infringe one or more claims of the ’556

Patent, either literally or through equivalents and either directly or through acts of contributory

infringement or inducement of infringement, in violation of 35 U.S.C. § 271 by manufacturing,

having made, using, selling, offering to sell, and/or importing the Accused Products, as described


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in more detail above. A claim chart showing exemplary infringement of the ’556 Patent is

attached as Exhibit D. Snik reserves the right to amend this First Amended Complaint and any

infringement contentions to include additional products that practice one or more claims of the

Patents-in-Suit as well as to include additional claims of the Patents-in-Suit. In addition, Snik

reserves the right to assert other theories of infringement based on discovery in the case as well

as based on expert testimony.

       27.     Snik is entitled to recover from Samsung the damages sustained by Snik as a result

of Samsung’s wrongful acts in an amount subject to proof at trial. Snik is entitled to recover from

Samsung damages adequate to compensate Snik for Samsung’s infringement of the ’556 Patent,

but in no event less than a reasonable royalty for the use Samsung made of claim(s) in the ’556

Patent, together with interest and costs as fixed by the Court.

       28.     Upon information and belief, Samsung has had notice of the ’556 Patent from in

or about March and April 2018, and in no event later than the time of filing of this lawsuit.

Accordingly, Samsung’s infringement has been willful and deliberate, entitling Snik to increased

damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35 U.S.C. § 285.

       29.     Samsung’s infringement of the ’556 Patent is causing, and will continue to cause,

irreparable harm to Snik for which there is no adequate remedy at law and such harm will continue

unless and until Samsung is enjoined by this Court.

                                    PRAYER FOR RELIEF

       Wherefore, Plaintiff Snik respectfully requests that this Court enter judgment in its favor

against Samsung and grant the following relief:

       A.      An adjudication that Samsung has infringed one or more claims of the ’329 Patent

and/or the ’556 Patent, directly and/or indirectly and literally and/or through equivalents;

       B.      An award of damages to Snik adequate to compensate it for Samsung’s past

infringement, together with pre-judgment and post-judgment interest, as well as damages

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adequate to compensate Snik for any continuing or future infringement, including costs, expenses,

and an accounting for all infringing acts;

       C.      A finding that Samsung’s infringement has been, and continues to be, willful and

an award of enhanced damages, up to and including treble damages pursuant to 35 U.S.C. § 284;

       D.      A preliminary and/or permanent injunction, enjoining Samsung, including its

officers, directors, agents, servants, affiliates, employees, divisions, branches, subsidiaries,

parents, and all others acting in active concert or participation with Samsung, from making,

having made, using, selling, offering to sell in the United States, or importing into the United

States, any devices or articles of manufacture that infringe either the ’329 Patent, the ’556 Patent,

or both the ’329 Patent and the ’556 Patent directly or indirectly and literally or through

equivalents;

       E.      A finding that this case is exceptional and an award to Snik of its reasonable

attorneys’ fees and costs pursuant to 35 U.S.C. § 285;

       F.      An order and judgment requiring Samsung to pay Snik for Snik’s damages, costs,

expenses, fees, pre-judgment, and post-judgment interest for Samsung’s infringement of any

claim of either the ’329 Patent and/or the ’556 Patent pursuant to 35 U.S.C. §§ 284 and/or 285;

and

       G.      Any and all further relief this Court deems just and proper.

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                                      JURY DEMAND

      Snik respectfully demands a trial by jury on all issues so triable.

 Dated: August 3, 2020                           Respectfully submitted,

                                                 KYLE HARRIS LLP

                                                 By:     /s/ John S. Kyle
                                                         John S. Kyle
                                                         Lead Attorney
                                                         California State Bar No. 199196
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                                                         San Diego, CA 92101
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                                                         Facsimile:     (619) 600-5144
                                                 ATTORNEYS FOR SNIK LLC




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